              Case 2:07-cr-00273-ILRL-MBN                         Document 402               Filed 09/16/13              Page 1 of 1
LAED 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Eastern District
                                                      __________ Districtofof
                                                                           Louisiana
                                                                              __________

                    United States of America
                               v.                                          )
                                                                           )
                            Isaac Bolton                                   )   Case No:         07-273
                                                                           )   USM No:          30275-034
Date of Original Judgment:                            07/31/2008           )
Date of Previous Amended Judgment:                                         )   Pro Se
(Use Date of Last Amended Judgment if Any)                                     Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   ’ the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. ’ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           ’
the last judgment issued) of                   months is reduced to                                      .

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Total Offense Level: ____
                               23   as of _________
                                          6/13/2008  Amended Total Offense Level: ________
Criminal History Category: ___________
                            I                        Criminal History Category: ___________
Previous Guideline Range: _______
                            120    to ______
                                       120    months Amended Guideline Range: _______ to _______
                                                                                          ______ months
                                                                                                  months

                            (Complete Part II of Page 2 when motion is granted)
COMMENTS (For Public Disclosure)
COMMENTS (For Public Disclosure)
The defendant is ineligible as the guideline range is restricted to the 120 month mandatory minimum, pursuant to USSG
5G1.1(b). The defendant was previously screened and found ineligible.

The defendant asserts as a ground for relief in his motion under 18 U.S.C. Sec. 3582(c)(2) that the denial of relief is
unconstitutional under Blewett v. United States, No. 12-5226 (6th Cir. May 17, 2013).




Except as otherwise provided, all provisions of the judgment dated                         07/31/2008          shall remain in effect.
IT IS SO ORDERED.

Order Date:                  09/16/2013
                                                                                                     Judge’s signature


Effective Date:                                                                   Ivan L.R. Lemelle, United States District Judge
                     (if different from order date)                                                Printed name and title
